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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   FINESSE WIRELESS, LLC                           §
                                                   §
                           Plaintiff,              §          CASE NO. 2:21-CV-00316-JRG
   v.                                              §                 (Lead Case)
                                                   §
   AT&T MOBILITY, LLC, AND                         §
                                                   §
   CELLCO PARTNERSHIP d/b/a                        §
   VERIZON WIRELESS                                §
                                                   §
                           Defendants,             §
                                                   §          CASE NO. 2:21-CV-00317-JRG
   NOKIA OF AMERICA CORP., AND                     §                (Member Case)
                                                   §
   ERICSSON INC.                                   §
                                                   §
                   Intervenor-Defendants.          §


                COVENANT NOT TO SUE AND JOINT MOTION TO DISMISS

          Plaintiff Finesse Wireless LLC (“Finesse”) and Intervenor-Defendant Ericsson Inc.

  (“Ericsson”) hereby enter into the below stipulation in the above-captioned case.

          Finesse, on behalf of itself and any successor in interest of U.S. Patent Nos. 7,346,134 and

  9,548,775 (the “Asserted Patents”) and current or future affiliates, covenants not to sue Ericsson

  or Telefonaktiebolaget LM Ericsson, any of their successors in interest, current and future

  affiliates, or any of their customers for infringement (direct or indirect) of the Asserted Patents

  based on the Ericsson P614 product, whether made, used, sold, offered for sale, imported, or

  exported any time at, prior to, or after the date of this covenant. Should Finesse or any successor

  in interest in either of the Asserted Patents sue Ericsson or Telefonaktiebolaget LM Ericsson, any

  of their successors in interest, current or future affiliates, or any of their customers for infringement

  (direct or indirect) of either of the Asserted Patents based on the Ericsson P614 Product, then the
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  covenant not to sue shall automatically and retroactively be regarded as a fully paid-up license to

  the Asserted Patents to make, use, sell, offer for sale, import, or export the P614.

         Finesse, on behalf of itself and any successor in interest and current or future affiliates

  further covenants not to sue, from the date of this Stipulation through December 31, 2024, Ericsson

  or Telefonaktiebolaget LM Ericsson, any of their successors in interest, current and future

  affiliates, or any of their customers for infringement (direct or indirect) of any patent with respect

  to any existing or future Ericsson product (“Further Covenant”). Should Finesse or any successor

  in interest in either of the Asserted Patents sue Ericsson or Telefonaktiebolaget LM Ericsson, any

  of their successors in interest, current or future affiliates, or any of their customers, on or before

  December 31, 2024, for infringement (direct or indirect) of either of the Asserted Patents based on

  an Ericsson product, then the covenant not to sue shall automatically and retroactively be regarded

  as a fully paid-up license to the then asserted patent to make, use, sell, offer for sale, import, or

  export Ericsson products. If Finesse initiates a suit for patent infringement after December 31,

  2024, regarding an Ericsson product, the Further Covenant does not affect Finesse’s rights to seek

  past damages during the period of the Further Covenant.

         This stipulation is being made for the purpose of conserving resources and avoiding costs

  associated with litigation in light of the level of sales of the P614. In making this stipulation,

  Ericsson does not admit that the P614 infringes the Asserted Patents or that the Asserted Patents

  are valid, and Finesse does not admit that the P614 does not infringe the Asserted Patents or that

  the Asserted Patents are invalid or in any way unenforceable.

         In light of the above covenant not to sue, Finesse and Ericsson hereby jointly move to

  dismiss all of Finesse’s claims regarding the Asserted Patents and the Ericsson P614 with prejudice

  and to dismiss Ericsson’s declaratory judgment counterclaims without prejudice.
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   Dated: August 4, 2022                BAKER BOTTS LLP

                                        By: /s/ Douglas M. Kubehl

                                        Douglas M. Kubehl
                                        State Bar Number 00796909
                                        Email: doug.kubehl@bakerbotts.com
                                        Jeffery Scott Becker
                                        State Bar Number 24069354
                                        Email: jeff.becker@bakerbotts.com
                                        Baker Botts L.L.P.
                                        2001 Ross Avenue, Suite 900
                                        Dallas, TX 75201
                                        Telephone: (214) 953-6500
                                        Facsimile: (214) 661-6503

                                        Brandon Chen
                                        State Bar Number 24095814
                                        Email: brandon.chen@bakerbotts.com
                                        Baker Botts L.L.P.
                                        910 Louisiana Street
                                        Houston, TX 77002
                                        Telephone: (713) 229-1234
                                        Facsimile: (713) 229-2811

                                        Deron R. Dacus
                                        Texas Bar No. 00790553
                                        THE DACUS LAW FIRM, P.C.
                                        821 ESE Loop 323, Suite 430
                                        Tyler, TX 75701
                                        Phone: (903) 705-1171
                                        Fax: (903) 581-2543
                                        Email: ddacus@dacusfirm.com

                                        ATTORNEYS INTERVENOR-
                                        DEFENDANT ERICSSON INC.
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                                        By: /s/ Joseph S. Grinstein

                                        Joseph S. Grinstein – Lead Counsel
                                          Texas State Bar No. 24002188
                                          jgrinstein@susmangodfrey.com
                                        Shawn Blackburn
                                          Texas State Bar No. 24089989
                                          sblackburn@susmangodfrey.com
                                        Meng Xi
                                          California State Bar No. 280099
                                          mxi@susmangodfrey.com
                                        Megan E. Griffith
                                          New York State Bar No. 5544309
                                          mgriffith@susmangodfrey.com
                                        Bryce T. Barcelo
                                          Texas State Bar No. 24092081
                                          bbarcelo@susmangodfrey.com
                                        SUSMAN GODFREY L.L.P.
                                        1000 Louisiana Street, Suite 5100
                                        Houston, TX 77002
                                        Telephone: (713) 651-9366
                                        Facsimile: (713) 654-6666

                                        S. Calvin Capshaw
                                          Texas State Bar No. 03783900
                                          ccapshaw@capshawlaw.com
                                        Elizabeth L. DeRieux
                                          Texas State Bar No. 05770585
                                          ederieux@capshawlaw.com
                                        CAPSHAW DERIEUX LLP
                                        114 E. Commerce Ave.
                                        Gladewater, TX 75647
                                        Telephone (903) 845-5770

                                        T. John Ward, Jr.
                                          Texas State Bar No. 00794818
                                          jw@wsfirm.com
                                        Andrea Fair
                                          Texas State Bar No. 24078488
                                          andrea@wsfirm.com
                                        Chad Everingham
                                          Texas State Bar No. 00787447
                                          ce@wsfirm.com
                                        WARD, SMITH & HILL, PLLC
                                        PO Box 1231
                                        Longview, Texas 75606
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                                                   Telephone: (903) 757-6400
                                                   Facsimile: (903) 757-2323

                                                   ATTORNEYS FOR PLAINTIFF
                                                   FINESSE WIRELESS, LLC




                               CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that counsel for Finesse Wireless, LLC and counsel for

  Ericsson Inc. have met and conferred and this motion is joint.



                                                      /s/ Joseph Grinstein
